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                                   No. 6:24-cv-00306

                               State of Texas et al.,
                                     Plaintiffs,
                                         v.
               United States Department of Homeland Security et al.,
                                    Defendants.


                                      NOTICE

              For the proceedings scheduled to begin at 9:00 a.m. on No-
           vember 5, 2024, the following orders apply:
              • Proceedings will occur in courtroom 306 in the William M.
           Steger Federal Building and United States Courthouse, with
           courtroom 301 as an overflow courtroom.
              • With no live witnesses, the case shall move directly to oral
           argument under the following time limits. Plaintiffs: 40 minutes.
           Defendants: 40 minutes. Amicus curiae CHIRLA: 10 minutes.
              • The court may consider requests from the parties and
           from media representatives for reserved seating in the courtroom.
           Call Court Information Officer (CIO) Jode Bejarano at 903-590-
           1057 for information about the possibility of reserved seating.
               • The decorum and dignity of the court, the courtroom, and
           judicial proceedings shall be maintained at all times. Court cus-
           toms shall be followed, including adherence to business attire.
           Questions regarding decorum may be directed to the CIO.
               • The Electronic Device Policy on the Tyler Division’s web-
           site applies. There shall be no recordings or transmissions in any
           courtroom. Any camera, mobile phone, laptop, smart watch, or
           other electronic device is prohibited past security and in court-
           rooms, except as to counsel using a laptop for the conduct of trial.
           Guards do not have storage facilities to hold any items.
